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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION, CINCINNATI

 JOSE MARIA DECASTRO,                           :   CASE NO. 1:22-cv-00204
                                                :
          Plaintiff,                            :   Judge Michael R. Barrett
                                                :
 v.                                             :   Magistrate Judge Stephanie K. Bowman
                                                :
 PAM WAGNER, ET AL.,                            :
                                                :
          Defendants.                           :
                                                :
                                                :


 ORDER GRANTING DEFENDANTS PAM WAGNER, BRAD SPOLJARIC, CHANCE
    BLANKENSHIP, EVAN MCNIGHT, ROBERT FOUCH, AND THE CITY OF
IRONTON, OHIO’S MOTION TO EXTEND THEIR TIME TO FILE THEIR REPLY IN
 SUPPORT OF THEIR MOTION FOR JUDGMENT ON THE PLEADINGS (DOC. 23)


         This matter came before the Court upon the Defendants’ Pam Wagner, Brad Spoljaric,

Chance Blankenship, Evan Mcnight, Robert Fouch, and the City of Ironton, Ohio, Motion to

Extend their Time to Reply in Support of their Motion for Judgment on the Pleadings. The Court,

being fully apprised of the premises and for good cause shown, hereby GRANTS the Motion.

         It is hereby ORDERED that:

      1. Defendants’ Pam Wagner, Brad Spoljaric, Chance Blankenship, Evan Mcnight, Robert
         Fouch, and the City of Ironton, Ohio have up to and including, February 10, 2023 to file
         their Reply in Support of their Motion for Judgment on the Pleadings.


         So ordered this                                           .




                                              Hon. Michael R. Barrett, Judge
